            Case 1:18-cr-00218-TSC Document 7 Filed 07/17/18 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Holding a Criminal Term
                             Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA                      :         CRIMINAL NO.
                                              :
               v.                             :
                                              :
MARIIA BUTINA,                                :         VIOLATIONS:
     Also known as:                           :
     Maria Butina,                            :         18 U.S.C. § 371
                                              :         (Conspiracy)
                       Defendant.             :
                                              :         18 U.S.C. § 951
                                              :         (Agents of Foreign Governments)

                                         INDICTMENT

       The Grand Jury charges that:

                                          COUNT ONE

                                       General Allegations

       At all times material to this Indictment:

       1.      MARIIA BUTINA, also known as “MARIA BUTINA” (“BUTINA”), was a

Russian citizen who entered the United States in August 2016 on an F-1 Student Visa. On the

visa application to the U.S. Department of State, BUTINA declared under penalty of perjury that

while she had been previously employed as Special Assistant to the RUSSIAN OFFICIAL, this

employment had ended on May 20, 2016.             Despite her attestation, BUTINA continued to act

under the direction and control of the RUSSIAN OFFICIAL for the purpose of advancing the

interests of the Russian Federation after she entered the United States.

      2.      The RUSSIAN OFFICIAL, whose identity is known to the grand jury, was a

Russian citizen and a high-level official in the Russian government. The RUSSIAN OFFICIAL
            Case 1:18-cr-00218-TSC Document 7 Filed 07/17/18 Page 2 of 6



was previously a member of the legislature of the Russian Federation and later became a top

official at the Russian Central Bank. In April 2018, pursuant to Executive Order 13661, the U.S.

Department of the Treasury’s Office of Foreign Assets Control (OFAC), in consultation with the

U.S. Department of State, sanctioned the RUSSIAN OFFICIAL.

       3.        U.S. Person 1, whose identity is known to the grand jury, was a United States citizen

and an American political operative. U.S. Person 1 worked with BUTINA to arrange introductions

to U.S. persons having influence in American politics, including an organization promoting gun

rights (hereinafter “GUN RIGHTS ORGANIZATION”), for the purpose of advancing the interests

of the Russian Federation.

       4.        At no time was BUTINA a duly accredited diplomatic or consular officer; an

officially and publicly acknowledged and sponsored official or representative of the Russian

Federation; or an officially and publicly acknowledged and sponsored staff member or employee

thereof.

       5.        At no time did BUTINA notify the Attorney General, whose office in the

Department of Justice is located in the District of Columbia, that she would and did act in the

United States as an agent of a foreign government and official.

                                          The Conspiracy

      6.         Beginning no later than in or around 2015, and possibly earlier, and continuing up

until the present, in the District of Columbia and elsewhere, BUTINA and others known and

unknown to the grand jury, including the RUSSIAN OFFICIAL, knowingly did combine,

conspire, confederate, and agree together and with each other to commit an offense against the

United States,




                                                   2
           Case 1:18-cr-00218-TSC Document 7 Filed 07/17/18 Page 3 of 6



to wit, Title 18, United States Code, Section 951, in violation of Title 18, United States Code,

Section 371.

                                     Objects of the Conspiracy


      7.       The objects of the conspiracy were:

               a. To act in the United States as an agent of a foreign government, specifically the

                  Russian Federation, without prior notification to the Attorney General;

               b. To act in the United States as an agent of a foreign government official,

                  specifically the RUSSIAN OFFICIAL, without prior notification to the Attorney

                  General;

               c. To exploit personal connections with U.S. persons having influence in American

                  politics in an effort to advance the interests of the Russian Federation, without

                  prior notification to the Attorney General; and

               d. To infiltrate organizations active in American politics in an effort to advance the

                  interests of the Russian Federation, without prior notification to the Attorney

                  General.

                              Manner and Means of the Conspiracy


      8.   BUTINA and her conspirators would and did use the following manner and means,

among others, to accomplish the objects of the conspiracy:


               a. While acting under the direction and control of an official of the Russian

                   Federation, BUTINA would meet in person and communicate via electronic

                   means with that official for the purpose of developing and executing a plan to

                   identify and exploit personal connections with U.S. persons having influence in




                                                  3
           Case 1:18-cr-00218-TSC Document 7 Filed 07/17/18 Page 4 of 6



                  American politics, who were in positions to advance the interests of the Russian

                  Federation.

              b. For the purpose of advancing the interests of the Russian Federation, BUTINA

                  established a relationship with U.S. Person 1 in Moscow who, thereafter, would

                  work with BUTINA in the United States to arrange introductions to U.S. persons

                  having influence in American politics.

              c. While residing in the United States, BUTINA would work on behalf of the

                  RUSSIAN OFFICIAL by attempting to establish unofficial lines of

                  communications with U.S. politicians and political organizations for the purpose

                  of advancing the interests of the Russian Federation.

              d. BUTINA would communicate via email, Twitter direct message, and other

                  means with the RUSSIAN OFFICIAL, and others, to send reports, seek

                  direction, and receive orders in furtherance of the conspiracy.

                                           Overt Acts

      9.    In furtherance of this conspiracy, and to accomplish its purposes and objects, at least

one of the conspirators committed or caused to be committed, in the District of Columbia, and

elsewhere, at least one of the following overt acts, among others:

           a. On or about March 14, 2016, BUTINA emailed a U.S. person in an effort to

               develop, maintain, and exploit a relationship in furtherance of the conspiracy.

           b. In or around August 2016, BUTINA entered the United States on an F-1 Student

               Visa for the claimed purpose of attending university full time in the District of

               Columbia, while continuing to act as an agent on behalf of the Russian Federation

               and the RUSSIAN OFFICIAL.




                                                 4
          Case 1:18-cr-00218-TSC Document 7 Filed 07/17/18 Page 5 of 6



          c. On or about September 26, 2016, BUTINA emailed a U.S. person to organize an

              event for the purpose of influencing the views of U.S. officials, as those views relate

              to the Russian Federation.

          d. On or about November 11, 2016, BUTINA sent the RUSSIAN OFFICIAL a

              Russian-language report that proposed ways to establish dialogue with U.S.

              politicians through a conference.

          e. On or about February 2, 2017, BUTINA and the RUSSIAN OFFICIAL attended

              the National Prayer Breakfast in the District of Columbia, along with a delegation

              from the Russian Federation.

(Conspiracy to Act as an Agent of a Foreign Government in violation of Title 18, United States
Code, Sections 371 and 951.)




                                                  5
Case 1:18-cr-00218-TSC Document 7 Filed 07/17/18 Page 6 of 6
